CaSe 3218-bk-O4309-.]AF DOC 1 Filed 12/11/18

 

Fi!i in this information to identify your ¢;aso;

 

     
     

`, United States eankmptcy counforrhe: x ,(.; (~, dr
§ \¢- :-` ",\.\ i,\, »-'- `
j handle Drsm'ct orFloncia z _ `:;_-.J l w
z CaSe number ilik"vwn)i M Ci'lapter you are filing under
5 Chapter? >

CI chem 11 g w ` ‘

Cl chapwr12 z :» ' _C=r (`,-rii`_i" l ,

C.l chaverra m Check ii this is an

Officiai Forr'n 101 .
Voluntary Petition for lndividuals Filing for Bankruptcy rem

Tha bankruptcy forms use you and Debror‘l to refer to a debtor lillng alone. A married couple may tile a bankruptcy case together-called a
joint case-and in joint oases, these forms use you to ask for information from bow debtors. For exampie, if a form asks. “Bo you own a car,”
die answer would be yes if either debtor owns a nar. When information is needed about the spouses separately, the form uses Debror 1 and

Debtor 2 to distinguish benn/sen them. In joint cases, one ofthe spouses must report initirmation as Debtor 1 and the other as Debtor 2. Tha
same person must be Debror 1 ln ai| of the forms.

Be as complete and accurate as possible lf two married people are liking together, both are equally responsible for supplying correct

information lf more space is needed, attach a separate sheet to this ferm. On the top of any additional pages, write your name and case number
(if knownl. Anawer every questlon.

ldentify Yourself

1. Your full name

 

About Debtor 1: .About Dehtor 2 (Spouse Only in a Joint Gasel:

Write the name that is an your

govemment_issued picture Synergy Salnt Augustine LLC

 

 

 

 

 

 

 

 

 

 

 

 

 

 

identification {for examplel Fi'$t name First name
your drivers license or
passpori). Middle name Middle name
Bring your picture
identification to your meeting LaSi “ame best name
with ihe trustee
Sulfix (Sr-. Jr-. li. lflJ Suinx rsr., Jr., li, im
- 2. All other names you
` have used in the last 8 gm name FM name
years
lnclude your married or Mi<idi@ name Midd%e name
maiden names.
Last name Last name
Flrst name First name
Middle name Midd|e name
l.ast name i_aat name
3. Only the last 4 digits of 4 5 5 7
yourso¢ialsecunry m _’°‘~-__._____....___ m “>°<-.____~__,___
number or federal on on
lndivldual Taxpayer
identification number 9 ><X - ><>< z._ __ ._.._ ____ 9 xx - xx -__ mm ____ “__
(iTiN`J

W»M~» se 9 -/.'i-: v » fm m-.~.wr».“»e

 

r.-;-.,‘_».¢..w¢-,»v»n~j v ewa-

 

 

 

.-'.'w»,-¢.-"/~:=.:,'W,,`.. mm , - . we v-

Oft'lcial Form 101 Voluntary Petitl`on for lndlviduale Fi|ing for Elankmpr.cy page 1

 

 

 

 

 

CaS€ 3218-bk-O4309-.]AF

Debtos‘ 1

Synergy Sa'm‘t Augusi.ine- LLC

 

Ftrst Nams Middls Nane

LBS£NE»I'M

Case number umwa

DOC 1 Filed 12/11/18 Page 2 of 9

 

`, 44 Any business names

: and Emp|oyer
identification Numbers
(EIN) you have used in
the iast 8 years

include trade names and
doing business as names

'--" :~»:e::. raw --,¢ ma A»'

st Where you live

About Dabtor 1:

53 l have not used anyr business names or Ele.

About Debtorz (Spouse Oniy in a .io`irtt Case}:

m l have not used any business names or E|Ns.

 

Busin¢ss name

 

Businas$ name

 

Business name

Um

H_"

101 Ma rkeiside Ave

 

Eusirtess name

EH`_

H_

lf Debtor 2 lives at a different address:

 

Number Sil'bei

Suita 404-334

 

Numbe[ Strde‘t

 

 

 

 

Pgnte vedra FL 32°81
city state th code city state ztt= code
'St, Johns
Cour\&y Gctunty

lf your mailing address is different from the one
above, fill it in hara Noie ihat the court \M`i| send
any notices to you al ihis mailing addressl

if Debtor 2’s mailing address is different from
yours, fill it in hare. Note that the court wi|i send
any notices id this mailing address

 

 

 

 

 

 

 

s. Why you are choosing
this disn'ict to file for
bankruptcy

 

Number Stmet Number Stree!

P_O. Box P.O. Box

City Siate Z|P Code Git)l State ZiP Cdde
Check one: Check ons:

E over the last 180 days before sting this petition
1 have iived in this district longer than in any
other district

El l have another reason Explairt.
{S&e 28 U.S.C. § 1405.}

 

 

 

 

|ZI over the last 180 days before sting this petition
l have lived in this district longer than in any
other districtl

m | have another mansonl Explain.
(See 26 u_S.c. § 1403.}

 

 

 

 

 

 

OFiicia| Form 101

 

h w . .y¢ ¢>..;~.~,<m-;

 

Voiuntary Petition for individuals Fiiing for Bankruptcy page 2

 

 

 

 

 

 

Debtor 1

Case 3:18-bl<-O4309-.]AF DOC 1 Filed 12/11/18 Page 3 of 9

Synergy Saint Augustine LLC

Case number (yMWL

 

i=irst Nerrie

Midd|a Nama

LBd Ndme

mToil the Court About ’four Bankruptcy case

7.

Tl'te chapter of the
Bankruptc:y Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last B years?

1n. Are any bankruptcy

'lt.

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partnar, or by an
aftiiiate?

Do you rent your
residence?

Ofi'icia| Foim 101

Check one. {For a brief description of eaoh, see Notice Raquired by- 11 U.S.C. § 342(b) for individuals Fi'iing
for Bankmpicy (Fonn 2010)). Also, go to the top of page 1 and check the appropriate box.

El Chapter 7
El Chapter 11
U Cbapter12

l:l Chapter 13

\:] l will pay the entire fee when l file my petitionl Please check with the clerk‘s office in your
locai counter more details about how you may pay Typloally, ii you are paying the fee
yourselfl you may pay with cash, cashier's chec-l<, or money order lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre»printed address

EB -l need to pay the fee in installments. If you choose this option, sign and attach the
Appi£cati'ori forindiw'duals i‘o Pa y The Fi`.li`ng Fee i°n insrai‘imonrs (Dfiic::'al Form 103A}.

Cl l request that my fee be waived (‘i'ou may request this option only li you are filing ‘ioi Chapter 7_
By law, a judge may, but is not required to, waive your iee, and may do so only ii your income is
less than 150% of the cincial poverty line that applies to your family size and you are unable to
pay the fee in installmenbs}, |f you choose this option you must fill out the Appi'ication to Hatro the
Chopter 7 Fi'ii'ng Fee War'ved {Dificia| Form 1033} and tile lt with your petition

mNo

Cl Yes. district

 

 

 

 

 

 

 

When Case number
MM f DD i' ¥YY‘i'
District When Caae number
MM i |JD f YYYY
Diatnct Whet\ C.ose number
MM i' DD ii YYYY
m No
ll Yes. oeowr neatmiisttip toyota
Distrid When Case number, if known
MM .f DD i' YYY‘t'
Beblor Relationship to you
Dislin'ct Wheo Case number, if known
Mivi l DD f YYYY
il No. ou to line tz.
Cl \’es. l-las your landlord obtained an eviction judgment against you?

D No. Goto line iz.

fl Yes. Fi|| out initial S!atement About an Eviotibn Judgmont Against You (Forrn 101A) and tile it as
part of this bankruptcy petition

Voluntary Peti'tion for individuals Fiiing for Bankruptcy page 3

 

 

 

Case 3:18-bl<-O4309-.]AF DOC 1 Filed 12/11/18 Page 4 of 9

Synergy Saint Augustine LLC

Debtor 1 Case number tommy
First Name Middla items Lest Narne

miami Abont Any Businoss¢s You Own as a Sole Proprlotor

12. Are you a sole proprietor D ND_ 60 to part 44
of any full- or parl»time
huginegg? m Ves_ Name and location of business

A sole proprietorship is a
business you operate as an . _
individuai, and is nor a Na“"° °"’“““"°S“' " a"’
separate legai entity such as

ito§moraiion, partnership or Number Smt

 

 

li you have more than one
sole proprietor'._~ihipl use a

 

 

separate sheet and attach it
to this petition Ciw Sww Z|P owe

Check the appropriate box to describe your business

a Heal'lti Cai'e B\.lsiness ins defined in 11 U_S.C. § 101(2?A})

a Single Asset Reai Esfate (as defined in 11 LJ.S.C. § 101{51B)}

Et stockbroker ias cleaned iii 11 u.s.c. § ioirssnii

9 Cornrnodity Brolcer (as detined in 11 U.S.C. § 1`01(6)}

g None of the above

13_ Are you filing under ifyou are filing under Chapter 11. the court must know whetheryou are a small business debtorso that it

shapter 11 of the can set appropriate deadlines if you indicate that you are a small business debtor. you must attach your
Bankmpt¢y C°de and most recent balance sheet statement of op<=.~rationsl cash-flow statement and federal income tax return or if
are you a small business any ofthese documents do not exist follow the promote in 11 U.S.C. § 1116{1){5).
damon ' _ m No. l am not wing under Chapier 11.
For a datinmon of small
business debtor/l 886 Cl No. l am ti|ing under Chaoler 11. but l am NOT a small business debtor according to the definition in
11 U.S.C. § 101{51{)). the Barii<ruptcy Code.

o Yes. | am filing under Gtiapter 11 and l am a small business debtor according to the definition in the
Banlcn.iptoy Code.

m:port if ¥ou Own or Havo Any Hamrdous Pmporty or Any Proporty That woods lmmodiato Attiention

 

14. Do you own or have any w m
rope that poses or is

§llege:\to pose a threat a YES- Whai`i$ the hazard?
of imminent and
|dentifiable hazard to
public heatth or safety?
Or do you own any
property that needs
lmmediate attention?
For exempts do you own
perishable goodsl or livestock
that must be fed, or a building
that needs urgent repairs?

 

 

li immediate attention is needod, why is it needed?

 

 

Where is the property?

 

Numher Streei

 

 

city see zii> case

Ol"ncial` Form 101 Voluntary Peti|tion for individuals Fillng for Bankruptcy page 4

 

 

 

 

 

Case 3:18-bl<-O4309-.]AF DOC 1 Filed 12/11/18 Page 5 of 9

Synergy Saint August'lne LLC

Debtor 1
rust Narne

Part 5:

Middla him

Cese number comm

La§t`:\iame

Explatn Your Eftorts to Recoive a Bri¢ftng Abmrt credit Counseling

 

15. Tetl the court whether
you have received a
briefing about credit
counseling

The law requires that you
receive a briel'lng about credit
counseling before you tile for
bankruptcy You must
truthfully check one of the
following choices lt you
cannot do so, you ana not
eligible to liter

li you file anyway, the court
carl dismiss your case you
will lose whatever tian fee
you paid, and your creditors
can begin collection activities
again

Oiticia| Form 101

About Debtor 1:

You must check ono.'

|;\ l received a briefing from an approved credit
contracting agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion

Attach a copy of the certificate and tile payment
plan. if anyl that you developed with the agency

l;l I received a briefing from an approved credit
estimating agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion

Within 14 days after you tile this bankruptcy petition.
you MUST file a copy of the certiiioate and payment
plan. if any.

l:} l certify thatt asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 'i'
days aftorl made my request and exigent
circumstances mont a 30-day temporary waiver
of the requirement

To ask for a 230-day temporary waiver of the
requirement attach a separate sheet explaining
wt'lat efforts you marie to obtain the briefmg, why
you were unable to obtain 'lt before you filed for
bankruptcy. and what exigent circumstances
required you to tile this case

Your case may be dismissed ii the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankn.lptc'y.

little court is satisfied with your reasons you must
still receive a briefing within 30 days after you lile.
You must lite a certificate from the approved
agency, along with a copy of the payment plan you
developed if any. if you do not do so, your case
may be dismissed

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days

fl t am not required to receive a briefing about
credit counseling because of:

§ lncapa¢:lry. l have a mental illness or a mental
deliciency that makes me
incapable of realizing or making
rational decisions about tinances.

ill stability lvly physical disability causes me
to be unable to participate in a
briefing in person. by phone, or
through the intemet. even after l
reasonably tried to do so.

ill native duty l am currently on solve military
duty in a military combat zone.

|f you believe you are not required to receive a
briean about credit counseling you must file a
motion for waiver of credit counseling with the court.

Votuntary Petiticrt for Indivlduals Filtng for Bankruptcy

About Debtor 2 {Spouse Onty in a Joint Gase):

You must check one:

l;l l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy pau`tiotl, end l received a
certificate cf corripll':ti»r.ln1

Attach a copy of the certificate and the payment
plan, if any. that you developed with the agency

l:i i received a briefing from an approved credit
counseling agency vnthin the 1 ltd days before l
liled this bankruptcy petition butt do not have a
certificate of completion

Wilhin 14 days after you flle this bankruptcy petition
you MUST tile a copy ofthe certificate and payment
plan, it any

m l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after -l made my request and exigent
circumstances merit a liu-day temporary waiver
of the requirement

To ask for a 150-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefingl why
you were unable to obtain it before you filed for
bankruptcyl and what exigent circumstances
required you to file this case

Your case may be dismissed iithe court is
dissatislied with your reasons for not receiving a
brienng before you filed for bankruptcy

little court is satisfied with your reascl'lsl you must
still receive a brieiing within 30 days alter you lile.
You must tile a certiiicate from the approved
agency. along with a copy of lite payment plan you
developed ii any. lt you do not do so, your case
may be dismissed

Ar'ly extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15
days,

lIJ l am not required w receive a orleans about
credit counseling because of:

g incapacity l have a mental illness or a mental
deliciency that makes me
incapable of realizing or making
rational decisions about ‘linances.

My physical disel:liiity causes me
to be unable to participate in a
brieling in person. by phone or
through the lnlemet, even after l
reasonably ln`ed to do so.

g Active duty_ l am currently on active military
duty irl a military combat zone.

lZl olsenllily.

if you believe you are not required to receive a
briefing about credit counseling you must tile a
motion for waiver of credit counseling with the court

page 5

 

 

 

 

Case 3:18-bl<-O4309-.]AF DOC 1 Filed 12/11/18 Page 6 of 9

Synergy Saint Augustine LLC
F`ir¥tName MddloName

Debtor 1

 

Caae number trauma
m Name

Answ¢r `l'hose Quosthms for Reporting Furposes

 

ie. What kind of debts do
you nave?

nn Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

 

ioa. Are your debts primarily consumer debis? Consumer debts are delined in 11 u.S.C. § 101(8}
as “inourred by an individual primarily for a personai, fami|y, or household purpose.‘”

Cl No. Go to line 161:_
E} Yes. facie line ir.

isb. Are your debts primarily business debts? Business debts are debts thai you incurred to obtain
money for a business or investment or through the operation of the business or investment

Ci Ne. Goioiine ice
ij Yes. Go to line 1?,

160. Siate the type of debts you owe that are not consumer debts or business debts

 

 

 

m No. l am not fliiug under Chapier `l'. Go io line tS.

_ ,.,,, _,W=,<.,,v-,,.W_.¢iiw,¢mwww_..,_nw,, W<<.-._,,,,,¢H_;__.,,~, .u ..,¢,.,,,<,WMMM,;,»…,.,\ »...…..M

w Yesl l am Eling under Chaptef 7. Do you estimate that alter any exempt properly is excluded and
administrative expenses are paid that funds will he available to distribute to unsecured tireditois?

 

excluded end m No

administrative expenses

are paid that funds will be 5 Ye$

available for distribution

mu"s“w':l“!°d°r°d§°'$?
ia. How many creditors do ill 149

you estimate that you [;| 5e99

°W¢? EJ 100-199

L`.l 200-999 w W

ts. How much do you m $u-$§O,DOO

estimate your assets to
he worth‘?

. i-low much do you
estimate your liabilities
to be?

For you

Sign Bolow

thcia| Fori'n 101

-”m¢..»..- ...-Mm.»e…., ,¢/-%,….... ,….~ -, M-<.».».a ~,i _.i.`

Ei soo,ooi-$ioo,ooo
Ci sioo,ooi~ssoo,ooo
EJ 5500.001-$1 miilion

ill sosao.ooo

El sso,ooioioo,ooo
§ sioo,ooi-$aoo,ooo
il $500,001-$1 milton

Ci i,ooos,ooo
ill 5,001-10,000
EJ 10,001-25,000

i~!-,.Mk-..,,W_.4_`_.,,¢.,.\.,»“.~“¢_.“¢~`-,..<. f

[Zl $1,000,001-$10 million
E] sio.ouo,uoi~$so million
l;] $50,000,681~$100 miilion

n.».~~w.,¢.»~… …

Cl $100.000.001-$50_o million

 

ill inure than ssa billion l

ij zs,ooi-so.ooo
IZ] so,ooi-ioo,ooo
IJ inure then too,ooo

ill ssoo,ooo,ooiei billion
EJ $i,ooo,ooo,ooi-$iu billion
ill sio,ooo,ooo,cioi-$so hilton

 

\.T.i s1 ,ooo,ooieio miiiion

El sio,ooo,ooi-$a) milton
E $50,000,001-$100 million
Ei troo.ooo,ooi-$soo milton

ill $sao,ooo.ooi -$1 union

iii $1,000.noo,omsio billion
iii eio,ooo,ooo,ooi»sse union
L`.I More than $50 hilton

l have examined this petition. and | dedare under penalty of perjury that the information provided is true and

CO¥TB L‘.»'L

if l have chosen to tile under Chaptar ?, | am aware that l may prooeed. if eligible under Chapter 7, 11,12, or 13
of title 11, United States Ccde, i understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone veto is not an attorney to help me till out
this document i have obtained and read the notioe_required by 11 U.S.C. § 342(!:}.

I iequest reliefin accordance W`lth tile chapter of title 11, United Siates Cclde. speciiied in this petition

l understand making a false"§ta ment, concealing property. or obtaining money or property by fraud in connection

with a bankruptcy case"oan re uli in fines up to $250,£}00. or imprisonment for up to 20 years` or boih_

18 U.S.C §§ 152.-‘“|34?, 151_,9, and 3571_
, if

 

    

,d'
,"' /
Signature of De Signature of Debtor 2
Executed o l' "t'~ ‘* d l“:“xecuted on
MM i on i utu r no Jyvr‘r

-./., -¢ ,.;':; -’..~'/a‘..¢,' - _» -.

-»\'….,,_

Voluntary Fotition for individuals Filing for Bankrupt'cy

¢.__.- ._,`.-x,`,~=

page 6

 

 

 

\-,.~.d,, .,-i.i.,,.…u .,.l.. ,……

 

Case 3:18-bk-O4309-.]AF DOC 1 Filed 12/11/18 Page 7 of 9

 

 

Debtor 1 53‘"¢'9¥ Sa*'nt A“gusti"'e LLC Casa number lrmlm)
Fim Nnma biddle Name Lasz Name
=z= '=,*/»@.?:‘-":¢":'¢c,z\f z?':”i's.¢s'¢:‘¢.$'W¢@¢~'.~,'.:\:<'\A';fi.v;=€»-:-;fw"<€'»d/~v»x'm@v?z:».-r:‘“@hm<.<‘f"h"),"Fl‘.-l~'~?-z-»'/-'~~v¢ 62 ’--=' <."-1 "-\‘>»,a<~.- ‘- ,w`-'-' 1 ,~;'- '.»2;~ ;";"#"»"’¢~. ' ' =- \" -'-§" -"'=-"/ ~ : ’;\J. /,-;-'- ~_";l ;J//._;@_.,_ ;-,`;;~-m » ;- -=4--- ,; »cA-.;.»

. |, ¥he anomey forthe dehior{$) named in this pefiiion. deciara that | have informed the debtor{s} about eiigib'llity
F°r Y°ur attomey’ if you are !cl proceed under Chapier 7, 11, 12. or 13 of t'l!le 11, Uniied S!aiea Code. and have expia`lned the rei'leli
mp"ese"t°d by °"° available under each chapter for which the person ls eligible lease oenify that l have delivered w me debtorla)
the notice required by 11 U.S.C. § 342(b} and, in a case in which § 707(|:)(4](D)app1ies, certify that | have no
if you are not represented knowledge after an inquiry mall the inmaiion in the scheduies iiier.i with ihe petition is incorrect
by an attomey, you dc not

 

 

 

 

 

 

 

 

need to file this page. x
Date

Slgnature ofAttomey for Debto;r MM f DD IYYYY
Pn`ntad name

Fifm name

Number Streei

Ci\y Smte Z\'P {;ode

Contact phone Err\aii address

Bar number Stalle

         

Q‘Hicia| For'm ?01 Voiuntary Fatltlon for lndividuais Fiiing for Bankruptcy page ?

 

 

 

 

 

Case 3:18-bk-O4309-.]AF DOC 1 Filed 12/11/18 Page 8 of 9

Debtor 1

Synergy Saint Augustine LLC

Casa number limml

 

Fl|'St Name

~-"-'v"€'»_-_:_~’.-'-' .… '».,,.»."';- w ': /:‘»

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to tito this page.

Of‘licial Fonh 101

Mlddio Nn'ne

i?-,‘=W‘E£/<."..`.@< ~.’1£'¢1?-,`§; ,-1‘-'.\` 5$"‘/- '~ r-..v , ’~5.':

did M;me

The law allows you, as an individual, to represent yourself irl bankruptcy court, but you
should understand that many people find it extremer difficult to represent
themselves successfully Beoause bankruptcy has long-term nnanclal and legal
consoquences, you are strongly urged to hire a qualified attorney

To be successful you must correctly flie and handle your bankruptcy case The rules are very
technioat. and a mistake or inaction may affect your rightsl For example your case may be
dismissed because you did not tile a required documerrl. pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administratcr, or audit
firm if your case is selected for audit lflhat happens, you could lose your right to tile another
oase, or you may lose protections. including the benefit of the automatic stay

You must list all your property and debts in tile schedules that you are required to file with the
court. Evon ‘rf you plan to pay a particular debt outside of your bankruptcyl you must list that debt
irl your schedules |f you do not list a debt. fha debt may not be discharged |i‘ you do not list
property or properly claim it as exempt you may not be able to keep the property The judge carl
also deny you a discharge of all your debts ii you do something dishonest in your bankruptcy
case. such as destroying or hiding property, falsifying recordc, or tying. lndividual bankruptcy
cases are randome audited to determine if debtors have been accurate truthfu|. and complete
'Bankruptcy fraud lo a serious crimo; you could be ined and 'u'npriscl.net|l

lf you decide to tile without an attornly, the court expects you to follow the rules as if you had
hired an attorney Tl'le court will not treat you differently because you are filing for yourself To be
successfui, you must be familiar with the L.initecl States Bankn.lptcy Code. the Foderal Rules of
Bankruptcy procedure and the local rules of the court in which your case is filed Yol.l must also
be familiar with any state exemption laws that apply

Are you aware that t`liing for bankruptcy is a serious action with long-term tinancial and legal
consequences?

m No
m Yes

Are you aware that bankruptcy fraud is a serious crime end that if your bankruptcy forms are
inaccurate or incomplete you could be fined or imprisonod?

L_..l No

g Yas

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
n No

L_.l Yes. Narrle of Parson _
Attach Bankmptcy F'otil‘ion Preparor’s Notice, Decl'arai'ion, and Signaturo (Ofiiu‘al Forrn 1 19).

 

By signing here, l acknow|ed that l understand the risks involved in Hling without an attomoy. l
have road and understood s notice, and l am aware that filing a bankruptcy case without an
attorney may cause`,mo' t ose.my rights or property ifl do not properly handle the case

mr ./-1: mo A::rl. '..'~.s_'v'\ ¢r'¢.=i"l.,"z l.‘" - .» E.'~'l“,.<"/-::'zi /y.:»'¢:,':’.//¥> M.-`.-<'."t"¢‘f)\-<\‘Z"-.;”»~¢'"~'!-"~i)‘.'< J¢-Wz=<ft"/if .'s`~'*~:».»‘€’¢»2-',"2$:\!<;'-3~! '»» l \./..»'. 9 .:"~»'.\'=:l’»-'; .. »`.;;1:.

 

 

 

 

X
Slg Signature of Doonor 2
to l'_'lale
MMI DD l'YY¥Y
Comact phone L‘,ontacl phone
Cel| phone Cell phone
Ernait address Emall address

 

   

Voluntary Potition for individuals Flling for Bankruptoy page 8

 

 

 

 

CASE NUMBER...:
DEBTOR........:
JOINT.........:
FILED.........:
WHERE ......... :

TRUSTEE ....... :
WHEN..........:

DEBTOR'S ATTY.:

MATRIX
MATRIX ON DISK
PRO SE

DISC. OF COMP.

Case 3:18-bk-O4309-.]AF DOC 1 Filed 12/11/18 Page 9 of 9

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
P E T I T I 0 N W 0 R K S H E E T
18-04309-3F7
SYNERGY SAINT AUGUSTINE LLC
12/11/2018 CASE TYPE: C COUNTY: 12109
JACKSONVILLE FIRST FLOOR [O]
300 NORTH HOGAN ST. SUITE 1-200
JACKSONVILLE, FL 32202
[COHEN, AA]
THURSDAY JANUARY 10, 2019 AT 2:00 p.m. [30]

PROSE

INST. APP. 20 LRG UNSEC. MATRIX (CH ll}
SOAR

20 LRG UNSEC. LIST {CH 11]

EXHIBIT "A" (REQUIRED IF DEBTOR IS A CH ll CORPORATION)

SUMMARY OF SCHEDULES

SCHEDULES A- J (INDICATE UNDER COMMENTS IF ANY ARE MISSING]

DECLARATION UNDER PERJURY

STATEMENT OF FINANCIAL AFFAIRS

CH 7 STATEMENT OF INTENTIONS

CHAPTER 13 PLAN

COMMENTS:

 

 

CLAIMS BAR DATE:
Fee information:

/ / / coMPLaINT DATE= / /

Total -> $40.00 jig,`¢)“icx,

[<ol~ CW‘-{~jftf-?

 

 

